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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                        WESTERN DIVISION


ED HENRY LOYDE,                             )
                                            )
      Plaintiff,                            )
                                            )
                                            )
VS.                                         )          No. 13-2846-JDT-dkv
                                            )
                                            )
MIDDLE TENNESSEE MENTAL                     )
HEALTH INSTITUTE, ET AL.,                   )
                                            )
      Defendants.                           )


        ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 1406(a)


      On October 25, 2013, Plaintiff Ed Henry Loyde, booking number 12105552, a pretrial

detainee at the Shelby County Criminal Justice Complex in Memphis, Tennessee, filed a pro

se complaint pursuant to 42 U.S.C. § 1983, accompanied by a motion seeking leave to

proceed in forma pauperis. (Docket Entries 1 & 2.) In an order issued on October 29, 2013,

the Court granted leave to proceed in forma pauperis and assessed the civil filing fee

pursuant to the Prison Litigation Reform Act, 28 U.S.C. § 1915(a)-(b). (D.E. 3.) The Clerk

shall record the Defendants as the Middle Tennessee Mental Health Institute (“MTMHI”);

David Ryker, the Director of the MTMHI; and two employees of the MTMHI, who are

identified as “Tech. Charles” and “Tech. Fisher.” The complaint alleges that Plaintiff was

assaulted by a fellow patient at the MTMHI. (Compl., D.E. 1 at 2-3.)
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       Twenty-eight U.S.C. § 1391(b) authorizes the commencement of a civil action only

in a judicial district

       (1) where any defendant resides, if all defendants reside in the same State,
       (2) a judicial district in which a substantial part of the events or omissions
       giving rise to the claim occurred . . . , or (3) a judicial district in which any
       defendant may be found, if there is no district in which the action may
       otherwise be brought.

This case has no connection with this district apart from Plaintiff’s current incarceration in

Memphis. The allegedly unlawful acts occurred at the MTMHI, which is located in

Nashville, Tennessee. Nashville is in Davidson County, which is in the Nashville Division

of the Middle District of Tennessee. 28 U.S.C. § 123(b)(1).

       Twenty-eight U.S.C. § 1406(a) states that “[t]he district court of a district in which

is filed a case laying venue in the wrong division or district shall dismiss, or if it be in the

interest of justice, transfer such case to any district or division in which it could have been

brought.” For the reasons stated, this action should have been brought in the Middle District

of Tennessee. Therefore, this case is hereby TRANSFERRED, pursuant to 28 U.S.C.

§ 1406(a), to the Nashville Division of the United States District Court for the Middle

District of Tennessee.

       The Clerk is directed to close this case without entry of judgment.

IT IS SO ORDERED.

                                             s/ James D. Todd
                                            JAMES D. TODD
                                            UNITED STATES DISTRICT JUDGE



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